        Case 1:17-cv-02122-TSC Document 114 Filed 01/14/18 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to   )
unaccompanied minor J.D., on behalf of    )
herself and others similarly situated;    )
JANE ROE and JANE MOE on behalf of        )
themselves and others similarly situated; )
and JANE POE;                             )
                                          )
                  Plaintiffs,             )               No. 17-cv-02122-TSC
                                          )
v.                                        )
                                          )
ERIC D. HARGAN, et al.,                   )
                                          )
                  Defendants.             )
                                          )
_________________________________________ )

DEFENDANTS’ NOTICE OF COMPLETION OF THE TRANSFER OF MS. JANE MOE

       Defendants hereby provide notice to this Court that today, Sunday January 14, 2018, we

have been informed by the U.S. Department of Health and Human Services (“HHS”) that the

transfer of Jane Moe to her sponsor has been completed.

DATED: January 14, 2018                            Respectfully submitted,

                                                   CHAD A. READLER
                                                   Acting Assistant Attorney General
                                                   Civil Division

                                                   AUGUST E. FLENTJE
                                                   Special Counsel
                                                   Office of Immigration Litigation

                                                   ERNESTO H. MOLINA
                                                   Deputy Director
                                                   Office of Immigration Litigation




                                              1
Case 1:17-cv-02122-TSC Document 114 Filed 01/14/18 Page 2 of 3



                             BY: /s/ Sabatino F. Leo
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                                  Attorneys for Defendants




                              2
        Case 1:17-cv-02122-TSC Document 114 Filed 01/14/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that on January 14, 2018, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will deliver a copy to all counsel of record.



                                                     /s/ Sabatino F. Leo
                                                     SABATINO F. LEO
                                                     Trial Attorney
                                                     Office of Immigration Litigation




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